Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 1 of 6
Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 2 of 6
Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 3 of 6
Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 4 of 6
Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 5 of 6
Case 9:19-bk-11573-MB   Doc 643 Filed 12/18/19 Entered 12/18/19 18:46:36   Desc
                         Main Document     Page 6 of 6
